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Defendant's Motion to Compel Inspection of Original Documents,
Forensic Examination of Plaintiff's Cellular Phone and
For Reasonable Expenses Pursuant to Rule 37

Index of Exhibits

A. Defendant's First Request for Production of Documents

B. Excerpts of the Deposition Transcript of Natalie Reeser, dated March 23,
2015

C. List of Audio Recordings produced by Plaintiff

D. Jacobson v Starbucks Coffee Company, 05-1338-JTM, 2006 WL 3146349

(D. Kan. Oct. 31, 2006)
